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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                        PLAINTIFF

V.                                NO. 4:06cr00104-01 JMM

COURTNEY ZRONE JOHNSON                                                        DEFENDANT

                           REPORT AND RECOMMENDATION

                                     INSTRUCTIONS

        The following recommended disposition has been sent to United States District

Court Judge James M. Moody. Any party may serve and file written objections to this

recommendation. Objections should be specific and should include the factual or legal

basis for the objection. If the objection is to a factual finding, specifically identify that

finding and the evidence that supports your objection. An original and two copies of your

objections must be received in the office of the United States District Court Clerk no later

than eleven (11) days from the date of the findings and recommendations. The copy will

be furnished to the opposing party. Failure to file timely objections may result in waiver

of the right to appeal questions of fact.

        Mail any objections to:

                Clerk, United States District Court
                Eastern District of Arkansas
                600 West Capitol Avenue, Suite 402
                Little Rock, AR 72201-3325

                                   RECOMMENDATION

        On December 8, 2006, Defendant appeared with counsel for the purpose of entering

a plea of guilty to Count I of the indictment.1 After being sworn and being fully apprised of

        1
            This matter was referred to me for report and recommendation. Docket entry
#130.
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his right to proceed before a District Judge, Defendant consented to proceed before me.

I then conducted a change of plea proceeding in accordance with the requirements of Fed.

R. Crim. P. 11. The entire transcript of the proceedings, which is filed under seal as an

exhibit, is made a part of this recommended decision. Based on those proceedings, I find

that: (1) the plea is knowing, intelligent, and voluntary; (2) there is a factual basis for the

plea and for each element of the offense to which Defendant has entered his plea; (3) the

provisions of Rule 11 and any other provisions of the law governing the submission of guilty

pleas have been substantially complied with; (4) a detailed written plea agreement has

been executed by Defendant, Defendant’s counsel and counsel for the United States and

placed in the Court file; and (5) there are no agreements or stipulations other than the

written plea agreement.

       I therefore recommend to Judge James M. Moody that he accept the guilty plea and

find Defendant guilty of the crime to which Defendant tendered his guilty plea and that the

Judge accept the written plea agreement, understanding that such acceptance is subject

to the provisions of the United States Sentencing Guidelines that “The Court is not bound

by the stipulation, but may, with the aid of the presentence report, determine the facts

relevant to sentencing.”

       Dated this 19th day of January, 2007.




                                              UNITED STATES MAGISTRATE JUDGE




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